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3                              UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

5                                               ***

6     In re: Eric Roy,                                 Case No. 2:11-cv-01896-JAD-NJK
      Attorney at Law, Bar No. 11869
7                                                     ATTORNEY DISCIPLINE ORDER TO
                                                             SHOW CAUSE
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9
10          This is an attorney discipline matter. Before the Court, in its capacity as Chief

11   Judge (see LR IA 11-7(g)(1)), is the Report and Recommendation of United States

12   Magistrate Judge Nancy J. Koppe, recommending the initiation of disciplinary

13   proceedings against Attorney Eric Roy. (ECF No. 144 (“R&R”).) Attorney Roy has not filed

14   an objection to the R&R and the deadline for doing so has elapsed. The Court accordingly

15   adopts the R&R without objection. See Thomas v. Arn, 474 U.S. 140, 149 (1985) (noting

16   that, where a party fails to object to a magistrate judge’s recommendation, the Court is

17   not required to conduct “any review at all . . . of any issue that is not the subject of an

18   objection.”).

19          In addition, for the reasons Judge Koppe provides in the R&R, the Court finds clear

20   and convincing evidence to initiate disciplinary proceedings against Attorney Roy. (ECF

21   No. 144.) See also LR IA 11-7(g)(1).

22          It is therefore ordered that Attorney Roy must show cause within 30 days of the

23   date of entry this order why he should not be disbarred from practice before this Court for

24   the conduct identified in Judge Koppe’s R&R. See id.; see also LR IA 11-7(g)(2).

25          It is further ordered that, if Attorney Roy believes some lesser sanction short of

26   disbarment is warranted, he must present argument as to what that sanction should be

27   and why it is more appropriate than disbarment in his response to this Order to Show

28   Cause (“OSC”).
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1           It is further ordered that, if Attorney Roy does not timely file a response to this

2    OSC, the Court will disbar him.

3           The Clerk of Court is directed to mark the R&R (ECF No. 144) as resolved, open

4    a new attorney discipline case for this attorney discipline matter, and file this OSC as the

5    first docket entry in that new attorney discipline case. The Clerk of Court is further directed

6    to file Attorney Roy’s response to this OSC in that new attorney discipline case.

7           DATED THIS 5th Day of July 2023.

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9
                                                MIRANDA M. DU
10                                              CHIEF UNITED STATES DISTRICT JUDGE

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